         Case 4:23-cv-00371-O Document 31-1 Filed 07/27/23                 Page 1 of 1 PageID 305


                                       United States District Court
                                           Northern District of Texas

       Karen Mitchell                                                              Fort Worth Division
       Clerk of Court
                                                 July 27, 2023

       233rd District Court
       200 East Weatherford
       Fort Worth, TX 76196




        RE: McKenzie v. State of Texas et al

                     Style: 4:23-cv-00371-O-BP

       Dear Clerk:

              Enclosed is a certified copy of an Order and/or Judgment remanding the above captioned
       case back to the     233rd Judicial District Court of Tarrant County  , 233-651265-18
       along with a copy of the docket sheet.

               If you have any questions regarding this matter, I may be reached at 817-850-6601 .




                                                                 Sincerely,
                                                                 Karen Mitchell, Clerk
                                                                     MW
                                                                 By: BBBBBBBBBBBBBBB
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Enclosure certified order
            certified docket sheet



cc:         &RXQVHORI5HFRUG
            &DVHILOH SXEOLFHQWU\
